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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA #
v. * CRIMINAL NO. LA BCR LO
THOMAS C. GOLDSTEIN, * (Tax Evasion, 26 U.S.C. § 7201; Aiding
* and Assisting the Preparation of False
Defendant. = and Fraudulent Tax Returns,
* 26 U.S.C. § 7206(2); Willful Failure to
* Pay Taxes, 26 U.S.C. § 7203; False
¥ Statements, 18 U.S.C. § 1014; Aiding
* and Abetting, 18 U.S.C. § 2;
* Forfeiture, 18 U.S.C. § 982(a)(2),
* 21 U.S.C. § 853(p))
*
RREKREESE
INDICTMENT

The Grand Jury for the District of Maryland charges that:

Introductory Allegations

At all times relevant to this Indictment:

l. Defendant THOMAS C. GOLDSTEIN (“GOLDSTEIN”) was a lawyer and a
resident of Chevy Chase, Maryland, and, beginning in 2021, Washington, D.C.

2, From at least 2016 until March 2023, GOLDSTEIN was the sole owner of
Goldstein & Russell, P.C. (“G&R”), a boutique law firm in Bethesda, Maryland, specializing in
appellate litigation, which included briefing and arguing cases before the United States Supreme
Court. GOLDSTEIN and others at G&R often performed appellate and related litigation with, and
on behalf of, various law firms—including a nationwide law firm specializing in representing
plaintiffs in securities litigation (“Law Firm-1”), and a New York-based law firm specializing in

representing plaintiffs in mass tort litigation (*Law Firm-2”).

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3. Although certain senior attorneys at G&R other than GOLDSTEIN were
nominally referred to as “partners,” those attorneys were employees of G&R, and GOLDSTEIN:
was the 100% owner of thefirm. As the sole ownerof G&R, GOLDSTEIN oversaw and had final
word on the operation and management of G&R, including the hiring and firing of attorneys and
other employees, the firm’s finances and bank accounts, compensation paid to employees, the
firm’s health insurance coverage, and the accounting, bookkeeping, and tax reporting performed
for G&R.

4, According to the structure that GOLDSTEIN created, maintained, and oversaw,
G&R did not employ an in-house accountant or bookkeeper. Rather, limited record-keeping
functions were carried out by G&R’s “firm manager,” who was typically a recent college graduate
with no forma! accounting or bookkeeping experience and whose responsibilities also included,
among other things, picking up GOLDSTEIN’s dry cleaning, getting service performed on
GOLDSTEIN’s motor vehicles, and coordinating maintenance and other work done on
GOLDSTEIN’s residence. Beginning in 2020, G&R began using a third-party, Canada-based
online bookkeeping software service, which was administered by the G&R firm manager.

5. In or about 2013, GOLDSTEIN hired a new outside accounting firm located in
Bethesda, Maryland (“the Accounting Firm”), to perform bookkeeping, accounting and tax-
preparation services for G&R and GOLDSTEIN individually. The Accounting Firm continued to
perform accounting and tax-preparation services for G&R until in or about 2024.

GOLDSTEIN’s Gambling Activities

6. In addition to the legal work he performed at G&R, GOLDSTEIN was also an
ultrahigh-stakes poker player, frequently playing in matches or series of matches in the United

States and abroad involving stakes totaling millions, and even tens of millions, of dollars.

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GOLDSTEIN’s poker activities included both “ring games” (which typically involved five or
more players) as well as “heads-up” matches (which were two-player matches).

7. To finance his participation in certain heads-up matches, GOLDSTEIN frequently
enlisted other poker players to stake, or “buy a piece of,” GOLDSTEIN in those matches.
Generally, such arrangements meant that the other poker players would receive an agreed-upon
percentage of GOLDSTEIN’s winnings if he won the match but pay that same percentage of
GOLDSTEIN’s losses if he lost. Pursuantto a well-established custom in the high-stakes poker
community, when an individual “buysa piece of” apoker player and thatpoker player wins against
his or her opponent, the winning poker player is not expected to pay that individual their piece of
the winnings until the opponent pays what was lost.

8. GOLDSTEIN also funded his poker activities by borrowing millions of dollars. In
early 2014, GOLDSTEIN approached a California-based businessman for whom he had
previously performed legal work through G&R, seeking to borrow $10 million to fund
GOLDSTEIN’ gambling activities. The businessman, a billionaire (“California Businessman-1”)
who owned and operated a series of companies with his wife, agreed to do so but required
GOLDSTEIN to sign a promissory note memorializing the loan and GOLDSTEIN’ obligation
to repay. Accordingly, in or about February 2014, GOLDSTEIN signed a promissory note
(“Note-1”) that allowed GOLDSTEIN to borrow up to $10 million and obligated him to repay,
with interest, the amounts advanced under Note-1.

9. Between March 2014 and November 2016, GOLDSTEIN borrowed over $9.5
million on Note-1, most of which he lost in poker matches during that period. Although the terms
of Note-1 had originally obligated GOLDSTEIN to repay the amounts advanced to him by

December 2015, the note was repeatedly extended through a series of “allonges,” which amended

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the terms of the note and extended the payment deadlines. By January 2021, GOLDSTEIN owed
over $9.89 million on Note-1,-an amount that remained outstanding throughout all of 2021. By the
end of 2022, GOLDSTEIN still owed more than $8.89 million on Note-1.

10. To make and receive payments related to his gambling and certain other private
activities between 2016 and 2022, GOLDSTEIN typically used a personal bank account (“the
Gambling Account”) over which he exercised exclusive control and authority, including the
authority to effectuate transfers. The G&R firm managers did not have access to the Gambling
Account. By contrast, GOLDSTEIN permitted the G&R firm managers to share authority with
respect to the G&R bank accounts, as well as a different personal bank account for GOLDSTEIN
and his wife, through which the G&R firm managers, as part of their official duties, paid certain
of GOLDSTEIN’s personal bills.

GOLDSTEIN’s Sham Employment Arrangements

11. Between 2016 and 2022, GOLDSTEIN was involved in, or pursued, intimate
personal relationships with at least a dozen women, transferring hundreds of thousands of dollars
to them from his financial accounts or joint bank accounts he set up with the women, and paying
for travel and other expenses for many of them. GOLDSTEIN executed these financial
transactions while he owed substantial amounts of money to the Internal Revenue Service (“IRS”).

12. To supplement or supplant payments he was making personally to three of the
women, and to pursue an intimate relationship with a fourth woman, GOLDSTEIN caused the
four women to be nominally “hired” as employees of G&R at various points during 2018. That
arrangement, GOLDSTEIN explained to the women, allowed the women to be paid by G&R and

obtain health insurance under G&R’s policy, for which G&R paid their premiums.

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13. Although GOLDSTEIN caused the women to be listed and paid as “employees”
of G&R during 2018 and covered under the G&R health insurance policy, the women performed
little or no work for the firm and therefore did not qualify for health insurance under the terms of
G&R’s health insurance policy. Although one of the women performed no work for G&R, the
firm, at GOLDSTEIN’s direction, paid her more than $4,000 in “salary” over approximately one
month, and provided her G&R health insurance between 2018 and 2020, and paid the premiums
for that coverage. GOLDSTEIN caused the full salary and insurance premium payments to these
women--—which added to or replaced his personal payments to them—to be deducted as G&R
business expenses, thereby falsely reducing his taxable income.

The Defendant’s Tax Reporting, Tax Filing, and Tax Paying Obligations

14. The United States income tax system (“the U.S. system”) imposed a tax on the
income of individuals and corporations. The tax was imposed on taxable income, as defined,
multiplied by a specified tax rate. The U.S. system allowed for a reduction of taxable income for
business and non-business expenditures, known as deductions. To be allowable, deductions must
have been both ordinary and necessary.

i5. The U.S. system was based on self-assessment, which means that U.S. taxpayers
must declare and pay taxes without being told the amount that is due by the U.S. taxing authority,
which is the IRS, a bureau of the U.S. Department of the Treasury (U.S. Treasury”).

16. The U.S. system was also a pay-as-you-go system, which means that taxes must be
withheld from wages to be paid over to the U.S. Treasury in the year in which income was eamed
(which was the case with most taxpayers), and/or be paid quarterly to the U.S. Treasury on an
estimated basis, again during the year in which the income was earned (“tax year”). When tax

returns were filed in the following year, any withholdings or estimated tax payments were applied

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against what the taxpayer owed, resulting either in a refund or an amount that was due to the U.S.
Treasury.

17. The U.S. system relied on the honesty and integrity of taxpayers in fulfilling their
tax-reporting and tax-paying obligations. Although the IRS audits some returns each year, as a
practical matter, it could audit only a small fraction of taxpayer returns.

18. Individual income tax returns were typically due on April 15 of the calendar year
following the tax year. A taxpayer could request and receive an extension to file his or her retum,
which extended the due date of the return to October 15. Taxpayers were required fo pay any taxes
owed by April 15, regardless of whether they f iled a return on that date. In other words, an
extension to file a return did not entitle a taxpayer to delay paying taxes; rather, those taxes were
still due on April 15 of the calendar year following the tax year.

19. Form 1040, U.S. Individual Income Tax Return (“Form 1040”), was an IRS form
that individual taxpayers used to file their annual income tax returns. Form 1040 contained sections
that required taxpayers to disclose their income, deductions, and other items for the year in order
to determine whether additional taxes were due and owing or whether the filer would receive a tax
refund.

20, The U.S. system required taxpayers to report all their income, whether earned or
paid to the taxpayer inside or outside the United States. Winnings from wagering transactions,
such as poker matches, constituted income under the U.S. system and had to be reported in full on

*Forms 1040. For non-professional gamblers, known as “casual” or “amateur” gamblers, such
income had to be reported as “other income” on Form 1040. Losses from wagering transactions
could be reported, but such losses were “allowed” as deductions only to the extent of the winnings

from such transactions. In other words, gambling losses could be used to offset gambling winnings,

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but only to the extent of the winnings; gambling losses that exceeded gambling winnings had no
effect on taxable income and could not offset other income or be carried over to another tax year.
When reporting gambling losses, casual gamblers had to reportsuch losses on Schedule A to Form
1040, on the line for “other itemized deductions.”

21. Cryptocurrency was a type of virtual currency that typically utilized cryptography
to secure transactions that were digitally recorded on an electronic distributed ledger, such as a
blockchain. Units of cryptocurrency were generally referred to as coins ortokens. Forthe tax years
2020 and 2021, the U.S. system required taxpayers to report, on their Form 1040, whether, at any
time during the tax year, the taxpayer received, sold, sent, exchanged, or otherwise acquired or
disposed of any financial interest in any virtual currency. In those years, the U.S. system also
required taxpayers to report, on their Form 1040, capital gains realized on the disposition of virtual
currency.

22.  § Corporations like G&R were small business corporations and were considered
“flow-through” entities that did not pay taxes in their own right. Instead, such corporations, which
were required to file annual tax returns called Form 1120-5, U.S. Corporation Income Tax Retum
(“Form 1120S”), passed the corporate income, losses, deductions, and credits through to their
shareholders for federal tax purposes. Shareholders of S Corporations reported the flow-through
of income and losses and certain other items on their Forms 1040 and were assessed tax at their
individual income tax rates.

23. A Form 1099 was an IRS form that listed how much nonemployee compensation
a taxpayer was paid during the tax year by a third party, such as a business or a person.

Nonemployee compensation, generally above a threshold amount, that was required to be reported

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on Form 1099 included dividends, interest, gambling winnings, pension distributions, and fee

income.

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GOLDSTEIN’s Scheme to Evade Taxes, File False and
Fraudulent Tax Returns, and Fail to Pay Taxes When Due

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24, Between 2016 and 2022, GOLDSTEIN engaged in a scheme to evade the
assessment of taxes, file falsetax returns, and fail to pay his tax obligations when they were due.
In furtherance of that scheme:

a. GOLDSTEIN used over $1.1 million of G&R funds to pay personal debts in 2016,
including gambling debts owed to poker players and payments due on Note-l,
causing the filing of false Forms 1120S and 1040 and the evasion of a substantial
amount of his 2016 income tax;

b. GOLDSTEIN falsely understated his gambling winnings by more than $3.9
million on his 2016 Form 1040, causing the filing of a false Form 1040 and the
evasion of a substantial amount of his 2016 income tax;

c. In March 2018, GOLDSTEIN falscly told an IRS Revenue Officer seeking to
collect his unpaid taxes for 2016 that his unpaid tax liability for that year was
attributable to a legal case resulting in a large payment to GOLDSTEIN whereas,
in truth, his liability was attributable principally to gambling income;

d. GOLDSTEIN diverted $250,000 in legal fees due and owing to G&R from Law
Firm-1 to his Gambling Account, causing the false understatement of G&R’s
corporate receipts and the evasion of a substantial amount of his 2017 income tax;

e. GOLDSTEIN used $175,000 of G&R funds in 2017 to pay a personal gambling
related debt that he owed to Law Firm-2, causing the filing of false Forms 11208

and 1040 and the evasion of a substantial amount of his 2017 income tax;
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f. GOLDSTEIN falsely omitted $200,000 in gambling winnings from his20 17 Form
1040 by directing a Nevada-based professional poker player (“Professional
Gambler-1”) to send winnings that he owed to GOLDSTEIN to Law Firm-2.in
order to satisfy part of a personal gambling-related debt that GOLDSTEIN owed
to Law Firm-2;

g. GOLDSTEIN falsely stated in an October 11, 2018, email to the Accounting Firm
that he had “[nJo gambling winnings” in 2017, causing the preparation and filing
ofa 2017 Form 1040 that falsely omitted over $3.4 million in gambling winnings;

h. GOLDSTEIN falsely omitted from his 2017 Form 1040 over $210,000 in income
from a 401K distribution;

i. GOLDSTEIN used G&R assets in 2018, in the form of a $125,000 legal fee due
to G&R from Law Firm-2, to satisfy a $125,000 gambling-related debt owed
personally by GOLDSTEIN to Law Firm-2, causing the filing of false Forms ! 040
and 1120S and the evasion of a substantial amount of his 2018 income tax;

j. GOLDSTEIN used tens of thousands of doilars of G&R funds in 2018 to pay
health insurance premiums and full salaries to women, despite the fact that the
women were not entitled to insurance coverage and performed little or no work for
G&R and the payments were actually personal in nature;

k. GOLDSTEIN falsely understated substantial amounts of gambling and other

income on his 2018 Form 1040, resulting in the evasion of a substantial amount of

his 2018 income tax;

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GOLDSTEIN used $170,000 of G&R funds to pay a personal gambling debt in
2019, causing the filing of false Forms 1120S and 1040 and the evasion of a
substantial amount of his 2019 income tax;

. GOLDSTEIN falsely omitted from his Forms 1040 for the 2016, 2017, and 2018
tax years certain interest income received through the Gambling Account, the
records for which GOLDSTEIN failed to provide to the Accounting Firm;

_ GOLDSTEIN falsely stated on his 2020 and 2021 Forms 1040 that he had not
received, sold, sent, exchanged, or otherwise acquired or disposed of any financial
interest in any virtual currency—despite the fact that he had engaged in dozens of
cryptocurrency transactions totaling over $10 million over those two tax years;
. GOLDSTEIN falsely omitted $500,000 in legal fee income from the 2021 G&R
Form 11208, resulting in the filing of a false Form 1040 and the evasion of a
substantial amount of his 2021 income tax;

. GOLDSTEIN willfully failed to pay his 2016, 2017, 2019, 2020, and 2021 taxes
when due, despite spending millions of dollars on personal expenses, including
luxury purchases and payments to and on behalf of women; and

. GOLDSTEIN, throughoutthe relevant period, systematically and repeatedly failed
to provide to the Accounting Firm, or to G&R’s firm managers, records of his
gambling wins and losses, despite the fact that GOLDSTEIN at times kept records
of his gambling activity, and throughout the relevant period had access to such

information, including Forms 1099 and bank records.

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Particulars of GOLDSTELIN’s Tax Crimes

Tax Year 2016

A. GOLDSTEIN’s False and Fraudulent Underreporting of his Gambling Winnings

25. Between in or around March 2016 and late December 2016, GOLDSTEIN
engaged in a series of heads-up poker matches with three ultra-wealthy individuals—two located
in Asia (“Foreign Gambler-1” and “Foreign Gambler-2”) and one located in Beverly Hills,
California (“California Businessman-2”). In preparation for these matches, GOLDSTEIN sought
and obtained guidance and coaching from two professional poker players (Professional Gambler-1
and “Professional Gambler-2”), as well as others, to study the historical playing patterns and
betting strategies of his three opponents and hone his strategy against them. As part of his
preparation for the heads-up match with Foreign Gambler-1, GOLDSTEIN authored and
discussed with Professional Gambler-1 and Professional Gambler-2 a 24-page memorandum
detailing the strategy and tactics he had devised, based on Foreign Gambler-1’s playing pattems,
GOLDSTEIN’s past mistakes when playing him, information gathered from other poker players,
and computer simulated practice. GOLDSTEIN also updated and revised the memo and created
versions of the memo reflecting the changes made, to further improve his chances at winning
against Foreign Gambler-1 in future poker matches.

26. GOLDSTEIN’s series of poker matches against Foreign Gambler-1, which took
place in or around September 2016 in Asia, resulted in GOLDSTEIN winning approximately 107
million Hong Kong Dollars, which were then worth approximately $13.8 million. Shortly after his
final match against Foreign Gambler-1 on or about September 11, 2016, GOLDSTEIN sent a text
to both Professional Gambler-1 and Professional Gambler-2, each of whom had “a piece” of

GOLDSTEIN in one or more of the 2016 matches, stating that the gross winnings from the

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matches against Foreign Gambler-1 were “107.2” million Hong Kong Dollars. GOLDSTEIN
confirmed his winnings against Foreign Gambler-1 when, as part of his effort to set up his match
against California Businessman-2, GOLDSTEIN sent a text in September 2016 to California
Businessman-2 stating that he was “up 14 [million dollars]” against “the big [foreign] player” and
that those winnings were “all available immediately” for poker matches with California
Businessman-2.

27. GOLDSTEIN’s series of poker matches against California Businessman-2
occurred in the Beverly Hills home of California Businessman-2 in November and December
2016. Those matches, some of which were attended by Professional Gambler-2, resulted in
GOLDSTEIN winning $26,435,000, which California Businessman-2 sent to GOLDSTEIN’s
Gambling Account in two wire transfers in November and December 2016, followed by a Form
1099 reflecting the payment to GOLDSTEIN of $26,435,000.

28. GOLDSTEIN’s series of matches with Foreign Gambler-2 occurred in or around
December 2016 in Asia and occasionally involved another foreign gambler..In heads-up matches
against Foreign Gambler-2, GOLDSTEIN won approximately 69 million Hong Kong Dollars,
which were then worth over $8.8 million. In confirming his winnings to Professional Gambler-2,
who hada2% “piece” of GOLDSTEIN in those matches with Foreign Gambler-2, GOLDSTEIN
sent a text to Professional Gambler-2 stating that GOLDSTEIN would be paying him “2% of 69,”
which, accordingto GOLDSTEIN, equated to $178,000 based on the then-existing exchange rate.
On December23, 2016, GOLDSTEIN wired to Professional Gambler-2 that $178,000. That same
day, GOLDSTEIN wire-transferred $403,000 to Professional Gambler-1, who hada 5% “piece”

of GOLDSTEIN in GOLDSTEIN’s matches with Foreign Gambler-2.

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29, Ina textsentto Professional Gambler-1 and Professional Gambler-2 on December
17, 2016, GOLDSTEIN calculated the “win rate” from his poker matches against the “3
targets”—Foreign Gambler-1, Foreign Gambler-2, and California Businessman-2—as follows:
“Our average win rate [was] US$660k per hour over an extended period of 77 hours,” which
equated to gross winnings of $50,820,000. In formulating the win rate in other terms,
GOLDSTEIN texted that “[oJur average is +US4.63 per session” over “11 sessions,” a
formulation that equated to over $50,900,000.

30. GOLDSTEIN failed to report any ofhis winnings from the poker matches against
Foreign Gambler-1 and Foreign Gambler-2, as well as millions of dollars in gambling winnings
from California Businessman-2, on his 2016 Form 1040. GOLDSTEIN also failed to report on
that Form $100,000 in gambling winnings from a separate poker match with Professional
Gambler-1 and $200,000 in gambling winnings from a poker match involving a California
Entertainer.

B. GOLDSTEIN’s Use of G&R Funds to Satisfy his Personal Debts

31. In addition to the 2016 poker matches described above, GOLDSTEIN was
involved in other heads-up and ring poker matches during2016 in which he lost millions of dollars.
To pay some of those gambling debts, GOLDSTEIN caused four wire transfers totaling $871,600
to be sent from the G&R bank accountto the winners of those matches. GOLDSTEIN also caused
wire transfers in the amounts of $200,000 and $100,000 to be sent from the G&R bank account to

. California Businessman-1 to pay down the amounts GOLDSTEIN owed on Note-1.

32. When causing those four gambling debt payments and two promissory note

payments totaling $1,171,600 to be sent from the G&R bank account, GOLDSTEIN failed to

inform the G&R firm manager that the transfers were to satisfy his personal debts rather than those

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of G&R, resulting in those transfers being falsely classified as “Legal Fee[]” expenses of G&R-
Moreover, despite having been provided by the firm manager in late December 2016 with a
written, year-end summary spreadsheet of transfers from the G&R bank account that classified the
six payments as “Legal Fees”: paid by G&R, GOLDSTEIN did not inform the firm manager or
the Accounting Firm that those six payments were to satisfy GOLDSTEIN’s personal debts.
Consequently, GOLDSTEIN caused the $1,171,600 in payments to be falsely classified and
deducted, for tax reporting purposes, as G&R expenses.

33. While failing to inform the G&R firm manager that the payments totaling
$1,171,600 were personal transactions, in December 2016 through January 2017, GOLDSTEIN
drafted a ledger listing some of his gambling transactions in the 2016 tax year. To draft the ledger,
GOLDSTEIN requested information from the G&R firm manager in or around late December
2016 about certain categories of payments made from G&R business and personal accounts,
without explaining that the categories focused on gambling-related payments. In oraround January
2017, GOLDSTEIN emailed the ledger, which reflected information on the year-end summary
spreadsheet, to an encrypted, Switzerland-based email account bearing his own name, and later
emailed an updated version of the ledger to his own G&R email account in or around October
2017. But GOLDSTEIN never emailed or otherwise provided the ledger to G&R’s firm manager
or the Accounting Firm.

C. GOLDSTEIN’s Failure to Report Income from Foreign Gambler-3

34. Foreign Gambler-3 was a Malaysian citizen, a G&R client, and an ultrahigh-stakes
poker player who assisted GOLDSTEIN in connection with, among other things, GOLDSTEIN’s

2016 heads-up match against Foreign Gambler-1. Foreign Gambler-3 also had a relationship with

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+ a financial institution in Montenegro, in Europe, where he and GOLDSTEIN each maintained one
or more financial accounts.

35. In October 2016, Foreign Gambler-3 paid GOLDSTEIN gambling winnings by.
transferring hundreds of thousands of dollars to a Montenegrin bank account held by
GOLDSTEIN. GOLDSTEIN transferred the majority of the funds to a G&R bank account in the
United States but kept approximately $125,000 at the financial institution in Montenegro. He
subsequently used most of that $125,000 for personal purposes, including making a payment to
Professional Gambler-2, the purchase of luxury goods, and other personal payments. However,
GOLDSTEIN did not report this money to the firm manager or the Accounting Firm, causing it
not to be reported as income for the 2016 tax year.

D. GOLDSTEIN’s Tax Evasion and False Tax Reporting for the 2016 Tax Year

36. Asa result of the conduct described in paragraphs 25 through 35, GOLDSTEIN
caused the G&R Form 1120S for the 2016 tax year to falsely overstate the expenses of G&R by
$1,171,600. In addition, GOLDSTEIN falsely reported on his 2016 Form 1040 that his gambling
winnings were $13,687,050 whereas, in truth and factand ashe knew, his gambling winnings were
more than $17,500,000. GOLDSTEIN’s under-reporting of his gambling winnings resulted in

» GOLDSTEIN falsely reporting on his 2016 Form 1040 that his net gambling winnings for 2016
were $2,748,350 whereas, in truth and fact, his net gambling winnings for 2016 were more than
$5,000,000. In addition, GOLDSTEIN failed to properly report the $125,000 received from
Foreign Gambler-3 and failed to report interest income received from the Gambling Account—he
records for which he failed to provide to the Accounting Firm. Consequently, GOLDSTEIN

: falsely under-reported his total income for 2016 and thereby evaded a substantial amount of the

income tax due and owing by him to the IRS for 2016.

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\ E. GOLDSTEIN’s Willful Failure to Pay his 2016 Tax Liability

37. GOLDSTEIN caused his 2016 Form 1040 to be filed with the IRS on or about
October 16, 2017, pursuant to an extension filed in April 2017. That tax return showed an amount
due and owing of $1,679,000. GOLDSTEIN, however, failed to pay those taxes on April 18,
2017, when they were due, and on October 16, 2017, when he filed his Form 1040 showing the
$1,679,000 liability. Rather than pay any of his 2016 taxes between April and October 2017,
GOLDSTEIN spent over $2 million on luxury items, gambling debts, and other personal
payments. GOLDSTEIN specifically acknowledged his choice to spend money on gambling
rather than pay his taxes when he wrote to a representative of California Businessman-1 in or
around November 2016, “I was going to use [hundreds of thousands of dollars in available funds]
to pay my personal 2016 taxes, but I’m just paying penalties instead. That’s fine, and it’s my
problem.”

38. Because GOLDSTEIN had not voluntarily paid his 2016 tax liability by March
2018, the IRS began taking steps to collect that tax debt. To that end, an IRS Revenue Officer
interviewed GOLDSTEIN and asked for the reason behind his unpaid liability for 2016. In
response, on or about March 26, 2018, GOLDSTEIN falsely told the IRS Revenue Officer that
his outstanding liability for 2016 was attributable to his receipt of a significant legal fee whereas,
in truth and fact, his liability was due principally to his gambling income. In 2019, GOLDSTEIN
entered into a payment agreement for his 2016 and 2017 taxes.

. 39. GOLDSTEIN failed to completely pay his 2016 tax liability until 2021.

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Tax Year 2017 '

A. GOLDSTEIN’s Fraudulent Funding of Heads-Up Poker Matches

40. Between late 2016 and early February 2017, GOLDSTEIN engaged in a series of
heads-up poker matches in Los Angeles against a California businessman who had made millions
in the real estate market (“California Businessman-3”). In those matches, GOLDSTEIN suffered
net losses of over $9.5 million dollars. Because no one had staked or bought a piece of him in the
matches, GOLDSTEIN was responsible for paying his entire losses to California Businessman-3
after each losing match. To fund his continued participation in poker matches against California
Businessman-3, GOLDSTEIN engineered two illicit and fraudulent schemes that were made
possible by his ownership and control of G&R and its assets.

(i) GOLDSTEIN’s Diversion of the G&R Fee Paid by Law Firm-1

41. In early February 2017, GOLDSTEIN engaged in a scheme to divert to his
Gambling Account a $250,000 legal fee owed by Law Firm-1 to G&R in connection with G&R’s
Supreme Court briefing in a securities class-action case. To divert the fee, GOLDSTEIN
exchanged a series of emails on or about February 1, 2017, with a named partner of Law Firm-1,
culminating in an agreement that Law Firm-1 would pay $500,000 to G&R over the course of the
various phases of the Supreme Court appellate process, including, at GOLDSTEIN’s insistence,
an initial $250,000 to be paid by Law Firm-1 “immediately.”

42. In providing wire instructions for that initial payment on February 1, 2017,
GOLDSTEIN requested that Law Firm-1 send the funds to his.Gambling Account, rather than to
G&R’s business bank account. Accordingly, Law Firm-1 wired te GOLDSTEIN’s Gambling
Account the $250,000 initial fee, $178,000 of which GOLDSTEIN transferred the following day

to California Businessman-3 to satisfy a portion of GOLDSTEIN’s poker debt. Although

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GOLDSTEIN typically had the G&R firm manager prepare invoices when seeking payment of
G&R fees from Law Firm-1, he did not do so with respect to the diverted $250,000 fee, and he did
nottell anyone at G&R or the Accounting Firm that he had diverted the G&R fee to his Gambling
Account, or that he had used it to satisfy a personal poker debt.

(ii) * GOLDSTEIN’s Use of G&R Funds to Satisfy Personal Gambling Debts

43. By the end of February 2017, GOLDSTEIN had experienced but not yet fully paid
net losses of approximately $10 million to California Businessman-3. In early March 2017,
GOLDSTEIN continued playing the series of heads-up poker matches with California
Businessman-3. To help satisfy a $500,000 poker debt stemming from an early March 2017 match
against California Businessman-3, GOLDSTEIN contacted Law Firm-2 and asked a named
partner at the firm whether he was interested in “investing” in one of GOLDSTEIN’s poker
matches against California Businessman-3. In connection with his request, GOLDSTEIN sent an
email to the Law Firm-2 partner on or about March 6, 2017, containing a link to an onlme
gambling-related forum, which included a discussion thread in which certain poker aficionados
had commented that California Businessman-3 was a poor poker player. When sending the email,
GOLDSTEIN did not reveal to the Law Firm-2 partner that, over the preceding months, he had
already lost approximately $10 million to California Businessman-3. In addition, GOLDSTEIN
falsely implied that the $500,000 “investment” GOLDSTEIN was seeking was to fund a future
match against California Businessman-3 rather than to pay an existing debt from a match
GOLDSTEIN had already lost.

44, After Law Firm-2 agreed to “invest” $500,000 in GOLDSTEIN’s poker match,
GOLDSTEIN directed Law Firm-2 on or about March 6, 2017; to wire the funds to an account

held by California Businessman-3 in California Businessman-3’s ownname, which GOLDSTEIN

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falsely claimed to a partner at Law Firm-2 was an account used by both him and California
Businessman-3 to “post” their funds until the resolution of the match. In truth, neither
GOLDSTEIN nor California Businessman-3 was required to “post” funds in advance of a given
match. Instead, the funds that GOLDSTEIN had Law Firm-2 send to California Businessman-3
were to satisfy part of GOLDSTEIN’s previous poker losses to California Businessman-3.

45. Although GOLDSTEIN won a small number of poker matches against Califomia
Businessman-3 between late 201 6 to mid-2017—-which resulted in GOLDSTEIN sending to Law
Firm-2 three “investment return” payments totaling $91,000 from his personal bank account
between March and August 2017—the overall result of the matches during that period was that
GOLDSTEIN lost more than $16 million. Moreover, although the “investment return” payments
sent by GOLDSTEIN initially led Law Firm-2 to tell GOLDSTEIN that he could continue to use
the “invested” funds, by the Fall of 2017, Law Firm-2 demanded that GOLDSTEIN fully repay
the $500,000 “investment.”

46. To partially satisfy his $500,000 personal debt to Law Firm-2, GOLDSTEIN
caused the G&R firm manager to send, via wire transfer from a G&R business bank account,
$175,000 of G&R’s funds to Law Firm-2 on or about November 7, 2017. When directing that the
$175,000 wire be sent, GOLDSTEIN did not disclose to the G&R firm manager that this
transfer—which was between two law firms—was to satisfy GOLDSTEIN’s personal gambling-
related debt and nota legal fee or other G&R business expense. To further satisfy part of his debt,
on or about November 14, 2017, GOLDSTEIN caused Professional Gambler-1 to send to Law
Firm-2 $200,000 that he owed to GOLDSTEIN personally as a result of a poker match that
GOLDSTEIN had won. By the end of 2017, GOLDSTEIN still owed $125,000 to Law Firm-2

in connection with the gambling “investment.”

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B. GOLDSTEIN’s Tax Evasion and False Tax Reporting for the 2017 Tax Year

47. Asa result of the conduct described in paragraphs 40 through 46, GOLDSTEIN
caused the following false tax reporting on the Form 1120S for G&R for the 2017 tax year: (1) the
false understatement of G&R’s gross receipts by $250,000 due to GOLDSTEIN’s diversion of
the $250,000 payment from Law Firm-1 to his Gambling Account; and (2) a false overstatement
by $175,000 of G&R’s business expenses due to GOLDSTEIN causing the transfer of $175,000
from G&R to Law Firm-2 to pay a personal poker debt, and the categorization of that transfer as a
G&R “legal fee expense.” Meanwhile, GOLDSTEIN’s 2017 Form 1040 falsely omitted $215,971
in pension-related income he received during 2017 and $263 of interest income earned by his
Gambling Account, both of which he failed to disclose to the Accounting Firm. Asa result of these
falsities on GOLDSTEIN’s 2017 Forms 1120S and 1040, GOLDSTEIN falsely understated, on
his 2017 Form 1040, his total income, taxable income, and his tax due and owing. In addition,
GOLDSTEIN caused his 2017 Form 1040 to falsely omit more than $3,250,000 in gambling
income earned from matches involving California Businessman-3 and Professional Gambler-1 by
falsely emailing the Accounting Firm that he had “{njo gambling winnings” in tax year 2017.

48. GOLDSTEIN caused the G&R 2017 Form 11208 to be filed on or about July 13,
2018, GOLDSTEIN caused his 2017 Form 1040 to be filed with the IRS on or about October 15,
2018, pursuant to an extension filed in April 2018. That return showed an amount due and owing
of $1,037,595.

C., GOLDSTEIN’s Willful Failure to Pay his 2017 Tax Liability

49. Despite GOLDSTEIN’s acknowledgement on his 2017 Form 1040 that he owed
$1,037,595 in taxes for that year, he failed to pay those taxes on April 17, 2018, when they were

due, and on October 15, 2018, when he filed his Form 1040. Rather than pay any of his 2017 taxes

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between Apriland-October 2018, GOLDSTEIN spent hundreds of thousands of dollars on luxury
items, gambling debts, and other personal payments.

50. GOLDSTEIN failed to completely pay his 2017 tax liability until 2021.

Tax Year 2018
A. GOLDSTEIN’s Use of G&R Assets to Pay His Personal Gambling-Related Debt

51. By early 2018, GOLDSTEIN had still not paid Law Firm-2 the $125,000 that
GOLDSTEIN owed personally as part of the repayment of Law Firm-2’s $500,000 “investment”
in GOLDSTEIN’s 2017 poker matches with California Businessman-3. Pursuant to a series of
e-mail exchanges between GOLDSTEIN and Law Firm-2, both recognized that GOLDSTEIN
personally owed the firm $125,000, while Law Firm-2 separately owed G&R a $125,000 fee for
certain legal services performed by G&R_ personnel, including GOLDSTEIN. Rather than
engaging in a mutual exchange of payments pursuant to which GOLDSTEIN would personally
pay Law Firm-2 the $125,000 he owed, while Law Firm-2 would transfer $125,000 to G&R,
GOLDSTEIN reached an understanding with Law Firm-2 that the payment obligations would be
offset, thus resulting in no exchange of payments. By reaching this understanding, GOLDSTEIN
effectively used G&R’s funds (the $125,000 fee owed to G&R) to satisfy his personal gambling-
related debt to Law Firm-2.

52. GOLDSTEIN failed to inform the G&R firm manager, his partners at GRR, and
the Accounting Firm that he had reached this understanding with Law Firm-2 to offset G&R’s
right to collect its $125,000 fee in exchange for Law Firm-2 offsetting its right to collect the

$125,000 owed to it by GOLDSTEIN personally.

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BB. GOLDSTEIN’s Failure to Report Foreign Income and Income
from Foreign Gambler-3

53. On or about September 25, 2018, Foreign Gambler-3 transferred approximately
$1,013,000 to GOLDSTEIN’s Montenegrin bank account, which was income to GOLDSTEIN.
GOLDSTEIN thereafter caused those funds to be transferred to a G&R firm bank account in the
United States and to be falsely classified as a reduction to stockholder distributions in G&R’s
books, rather than as income.

54. In October 2018, GOLDSTEIN traveled to Macau, where he collected
approximately $1,000,000 in income from Foreign Gambler-3 or his associate. Soon after,
GOLDSTEIN flew from Hong Kong to Dulles International Airport carrying a duffel bag
containing approximately $968,000 in United States dollars. During an encounter with a United
States Customs and Border Protection officer at the airport, GOLDSTEIN admitted that the cash
represented gambling winnings. GOLDSTEIN, however, failed to report the $968,000 as income
on his 2018 Form 1040. Moreover, in an interview with representatives of the IRS on or about
October 14, 2020, GOLDSTEIN falsely stated that the funds brought back from Hong Kong

represented a “loan’*—but never produced any record documenting the purported loan or its terms.

C. GOLDSTEIN’s Use of G&R Funds to Make Other Personal Payments

55 .  Asnoted, during the 2018 tax year, GOLDSTEIN caused G&R to listas employees
four women with whom he was having or pursuing intimate personal relationships. Pursuant fo
GOLDSTEIN’s instructions, the women were paid salaries by G&R and provided health
insurance under G&R’s health insurance policy even though GOLDSTEIN knew that they were
not eligible for that insurance and performed litéle or no work. As a result, GOLDSTEIN caused

over $8,000 in G&R funds to be used to pay the four women’s health care premiums and over

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$31,000 in G&R funds to be paid to them as salaries. These payments by G&R replaced or added

to personal payments GOLDSTEIN was making to the women.

D. GOLDSTEIN’s Tax Evasion and False Tax Reporting for the 2018 Tax Year

56.

Asa result of the conduct described in paragraphs 51 through 55, GOLDSTEIN

caused the following false tax reporting on the 2018 G&R Form 1120S for the 2018 tax year:

a.

57.

the false understatement of G&R’s gross receipts by approximately $1,125,000,
based on GOLDSTEIN’s diversion of approximately $1,000,000 paid to his
Montenegrin bank account by Foreign Gambler-3 or his associate and
GOLDSTEIN’s surreptitious use of the $125,000 fee owed to G&R for legal work
to satisfy his personal gambling-related debt to Law Firm-2; and

the false overstatement of G&R’s expenses and deductions by approximately
$40,000, as a result of GOLDSTEIN’s use of G&R funds to pay for salaries and
healthcare premiums for the women whom he placed on G&R’s payroll, who were
not bona fide employees and who did not qualify for G&R’s health insurance.

As a result of the conduct described in paragraphs 51 through 56, GOLDSTEIN

also caused the following false tax reporting on his 2018 Form 1040 for the 2018 tax year:

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58.

the omission of approximately $1,000,000 in income received in cash from Foreign

Gambler-3 or his associate; and

. the omission of certain interest income he received through the Gambling Account,

the records for which he failed to provide to the Accounting Firm.

Based on the foregoing false tax reporting, GOLDSTEIN falsely understated on

his Form 1040 his taxable income and tax due and owing, and thereby evaded a substantial amount

of the income tax due and owing by him for 2018.

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59, , GOLDSTEIN caused the G&R 2018 Form 1120S to be filed with the IRS on or
about April 2, 2019. GOLDSTEIN also caused his 2018 Form 1040 to be filed with the IRS on

or about April 15, 2019.

E. GOLDSTEIN’s Execution of a Note Promising to Pay his $6 Million Gambling Debt
to California Businessman-3

. 60. By mid-2018, GOLDSTEIN still owed California Businessman-3 approximately
$6 million in connection with their heads-up poker matches that ended in mid-2017. Because
GOLDSTEIN was not making sufficient regular payments to reduce this outstanding poker debt,
California Businessman-3 requested that GOLDSTEIN sign a note promising to pay down his $6
million debt on a regular schedule, with interest. After agreeing to do so, on or about August 22,
2018, GOLDSTEIN signed an unsecured promissory note dated August 21, 2018 (“Note-2”),
promising to make monthly principal and interest payments totaling $30,000 from the date of the
execution of the note through May 2030, and a balloon payment of $2.4 million in 2030.

61. Pursuant to the terms of Note-2, GOLDSTEIN made certain payments between
October 2018 and the end of 2021, at which time GOLDSTEIN still owed over $4.5 million on
Note-2.

Tax Year 2019

A. GOLDSTEIN’s Use of G&R Funds to Pay his Personal Gambling Debt and Personal
Expenses

62. During2019, GOLDSTEIN was involved in a poker match involving a Califomia

Movie Producer (“the Producer”). In that match, GOLDSTEIN lost $170,000 to the Producer. To
satisfy that poker debt, GOLDSTEIN caused a $170,000 wire transfer to be sent from the G&R

bank account to the Producer.

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‘63. * GOLDSTEIN did not tell the G&R firm manager or the Accounting Firm that the
$170,000 payment to the Producer was to satisfy GOLDSTEIN’s personal debt and thus was not
a business expense of G&R. By causing the payment to the Producer to be sent from the G&R
bank account, GOLDSTEIN caused the payment to be falsely categorized as a “Legal Fee[]” on
the G&R books rather than a payment to satisfy GOLDSTEIN’s personal gambling debt.

64, In addition, during2019, GOLDSTEIN caused G&R funds totaling approximately
$6,000 to be used to pay for healthcare premiums for a woman with whom GOLDSTEIN
continued an intimate relationship and to whom GOLDSTEIN continued to make personal
payments but who performed no work for G&R and did not qualify for health insurance under the
terms of G&R’s health insurance policy.

B. GOLDSTEIN’s Failure to Report Income Received from Foreign Gambler-3 and
Other Gamblers

65. In or about February 2019, GOLDSTEIN represented Foreign Gambler-3 in
connection with certain court proceedings in Macau. For that legal work, Foreign Gambler3
caused approximately $235,000 to be sent to the G&R Montenegrin bank account. GOLDSTEIN
told the G&R firm manager that he was expecting to receive “$235k” from Foreign Gambler-3 at
the Montenegrin financial institution and wanted to wire it to a U.S. domestic G&R bank
account—but did not tell the firm manager that the money was legal fee income. When the
Montenegrin financial institution asked for documentation to support the wire, the firm manager
asked GOLDSTEIN if they should document the transaction as a “capital contribution” from
GOLDSTEIN to G&R. GOLDSTEIN said, “Yes,” and the firm manager submitted a letter to
that effect. After the financial institution explained that it could more easily transmit the money to

a G&R. firm bank account in the United States from the G&R Montenegrin bank account,

GOLDSTEIN approved an invoice on G&R letterhead listinga $235,000 fee for “Legal Counsel”
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provided to Foreign Gambler-3, which the firm manager then submitted to the financial institution.
Notwithstanding the foregoing, GOLDSTEIN ensured that the approximately $235,000 transfer
was not reported as legal fee income and later confirmed with the Accounting Firm that the funds
had been classified as a reduction to shareholder distributions.

66. In addition to the foregoing, GOLDSTEIN received approximately $359,000 n
gambling income during 2019. GOLDSTEIN, however, failed to inform the Accounting Firm
about his gambling income and gambling losses for the 2019 tax year.

C. GOLDSTELN’s False Tax Reporting for the 2019 Tax Year

67. Asa result of the conduct described in paragraphs 62 through 66, GOLDSTEIN
caused the following false tax reporting for the 2019 tax year: the false overstatement, on the 2019
G&R Form 11208, of G&R’s expenses and deductions by $175,997, based on GOLDSTEIN’s
use of $170,000 in G&R funds to satisfy GOLDSTEIN’ personal gambling debt to the Producer,
and GOLDSTEIN’s use of $5,997 to pay healthcare premiums for an intimate partner; the false
understatement, on the 2019 G&R Form 1120S, of G&R’s gross receipts by approximately
$235,000, based on the failure to report as fee income the funds received from Foreign Gambler-
3; the fraudulent omission, onGOLDSTEIN’s 2019Form 1040, of $359,000 in gambling income;
and the false understatement, on GOLDSTEIN’s 2019 Form 1040, ofhis total income and tax due
and owing.

Dd, GOLDSTEIN’s Willful Failure to Pay his 2019 Tax Liability

68. GOLDSTEIN caused his 2019 Form 1040 to be filed on October 15, 2020.
Although GOLDSTEIN owed over $500,000 in taxes for 2019 at the time he filed his return,
GOLDSTEIN failed to pay those taxes until April 29, 2021. Rather than paying his taxes on

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July 15, 2020, when they were due, or on October 15, 2020, when he. filed his return,

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GOLDSTEIN spent over $50,000 on luxury items and other personal payments between July and

October 2020. Moreover, GOLDSTEIN paid over $550,000 for gambling debts during 2020.

Tax Year 2020

A. GOLDSTEIN’s Failure to Report Gambling Income and his use of G&R Funds
to Pay Personal Expenses

69. During 2020, GOLDSTEIN received approximately $93,180 in gambling income,
which he failed to report to the G&R firm manager or the Accounting Firm. In addition, during
2020, GOLDSTEIN caused approximately $1,800 in G&R funds to be used to pay healthcare
premiums for a woman who performed no work for G&R and did not qualify for health insurance
under the terms of G&R’s health insurance policy.

B. GOLDSTEIN’s 2020 Cryptocurrency Transactions

70. During the tax year 2020, GOLDSTEIN maintained a United States-based
cryptocurrency account. GOLDSTEIN used that cryptocurrency account during 2020 to engage
in approximately 80 transactions involving the receipt, sale, sending, exchange, or acquisition of
a financial interest in digital currency, with a total transaction volume of more than $1.5 million.

71. GOLDSTEIN knew thathe was required to report his eryptocurrency transactions
on his Forms 1040 since at least March 2020, when G&R’s then-firm manager reviewed with
GOLDSTEIN a tax organizer (provided by the Accounting Firm), and specifically reviewed with
GOLDSTEIN a question on the tax organizer concerning whether he had engaged in
cryptocurrency transactions. Similarly, the Accounting Firm’s retention letters in tax years 2019
and 2020 explicitly stated that cryptocurrency transactions needed to be reported on Forms 1040.

C. GOLDSTEIN’s False Tax Reporting for the 2020 Tax Year

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72. Asa result of the conduct described in paragraphs 69 through 71, GOLDSTEIN

caused his 2020 Form 1040 to falsely omit $93,180 in gambling income, and falsely omitted
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$1,800 in income by using G&R funds to pay the healthcare premiums for one of the women with
whom he had an intimate relationship. In addition, despite conducting approximately 80
cryptocurrency transactions with a total transaction volume of over approximately $1.5 million
during 2020, GOLDSTEIN falsely answered “no” on his 2020 Form 1040 to the question, “At
any time during 2020, did you receive, sell, send, exchange, or.otherwise acquire any financial
interest in any virtual currency?”

D. GOLDSTEIN’s Willful Failure to Pay his 2020 Tax Liability

73. GOLDSTEIN caused his 2020 Form 1040to be filed on or about October 15,2021.
Although GOLDSTEIN owed over $945,000 in taxes for 2020, he failed to pay that tax liability
on May 17, 2021, when the taxes were due, and failed to make any estimated tax payments.
GOLDSTEIN also failed to pay his tax liability when he filed his Form 1040 on or about
October 15, 2021. Rather than paying his 2020 tax liability between May and October 2021,
GOLDSTEIN spent over $500,000 on luxury items and other personal payments between those
months. Moreover, GOLDSTEIN paid over $1,000,000 for gambling debts during 2021.

74. GOLDSTEIN failed to pay his 2020 tax liability until December 2022.

Tax Year 2021

A. GOLDSTEIN’ s Fraudulent Failure to Report $500,000 in Fee Income

75. Onorabout December 19, 2019, a Texas-based billionaire (“Texas Businessman”)
engaged ina heads-up poker maich in Dallas, Texas, againsta California-based actor (“the Actor’).
The match had been set up by the Producer, who bought a 50% piece of the Actor in the match. In
addition to his wagering with the Actor, the Texas Businessman also placed “side bets” with other

poker players that he would prevail in his match against the Actor.
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76. The Actor won over $15.6 million in the December 2019 poker match with the
Texas Businessman, but the Texas Businessman failed to timely pay the Actor and the side
bettors—to whom the Texas Businessman separately owed hundreds of thousands of dollars on
the side bets. The Texas Businessman’s failure to pay the Actor continued into.2021, although mn
the interim the Texas Businessman proposed to the Actor and the side.bettors a settlement of his
poker debits that involved paying an amount significantly less than what was actually owed.

77.  Jnorabout2021, the Actor, who refused to agree to a reduction of the amountowed
to him by the Texas Businessman, retained GOLDSTEIN and G&R to serve as his legal
representative in his efforts to secure full payment of the poker debt owed to him by the Texas
Businessman. In connection with his retention of GOLDSTEIN, the Actor and GOLDSTEIN
exchanged a series of email and text communications regarding how much GOLDSTEIN and
G&R would be paid, including a discussion of work that G&R had already spent on the matter.
GOLDSTEIN and the Actor ultimately agreed that the Actor would pay GOLDSTEIN a
contingency fee based on a percentage of the amount GOLDSTEIN and G&R succeeded in
convincing the Texas Businessman to pay to the Actor above the amount previously proposed by
the Texas Businessman.

78.  Asaresultof GOLDSTEIN’s legal efforts, including an email GOLDSTEIN sent
from his G&R firm email address to the Texas Businessman’s attorney in which GOLDSTEIN
stated that the Actor would consider filing a lawsuit to obtain payment, the Texas Businessman
agreed in mid-2021 to pay the Actor in full. Accordingly, onJune 21,2021, the Texas Businessman
caused $7,815,000 to be wire transferred to the Actor—representing payment in full to the Actor,

less the 50% piece owed to the Producer.

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79,  Pursuantto his agreement with GOLDSTEIN, the Actor owed a fee of $500,000
to GOLDSTEIN and G&R. But rather than directing the Actor to transfer this fee income to the
G&R bank account or otherwise to him, GOLDSTEIN directed the Actor to transfer the fee to
California Businessman-3 to pay down part of the multi-million poker debt still owed to him by
GOLDSTEIN, as memorialized in Note-2. Pursuant to GOLDSTEIN’s directions, the Actor
transferred to California Businessman-3 the $500,000 fee he owed to GOLDSTEIN, confirming
in a text message sent to GOLDSTEIN on or about June 22, 2021, that the funds had been sent to
“(California Businessman-3] to pay you obviously.” Days later, an employee of California
Businessman-3 emailed GOLDSTEIN that the $500,000 sent by the Actor had been applied to
payments owed by GOLDSTEIN to California Businessman-3 on Note-2.

80. GOLDSTEIN did nottell the G&R firm manager or the Accounting Firm that he
had earned and had effectively been paid the $500,000 icgal fee.

B. GOLDSTEIN’s 2021 Cryptocurrency Transactions

81. During the tax year 2021, GOLDSTEIN maintained two cryptocurrency accounts,
one in the United States and the other abroad. GOLDSTEIN used those cryptocurrency accounts
during 2021 to engage in approximately 200 transactions—involving the receipt, sale, sending,
exchange, or acquisition of a financial interest in digital currency—with a total transaction volume
of more than $8 million.

C. GOLDSTEIN’s Tax Evasion and False Tax Reporting for the 2021 Tax Year

82. Asa result of the conduct described in paragraphs 75 through 81, GOLDSTEIN
caused a Form 1120S forthe 2021 tax yearto be prepared for G&R thatfalsely understated G&R’s

gross receipts by $500,000. This resulted in a false understatement of the taxable income and tax

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due and owing by GOLDSTEIN on his 2021 Form 1040, and GOLDSTEIN thereby evaded a
substantial amount of the income tax due and owing by him to the IRS for 2021.

83.  In.addition, despite conducting more than 200 cryptocurrency transactions with a
total transaction volume of over $8 million during 2021, GOLDSTEIN falsely answered “no” on
his 2021 Form 1040 to the question, “At any time during 2021, did youreceive, sell, exchange, or
otherwise dispose of any financial interest in any virtual currency?” Moreover, despite winning
approximately $267,000 in poker matches during 2021, GOLDSTEIN falsely: omitted from his
2021 Form 1040 the reporting of any gambling income,

D. GOLDSTEIN’s Willful Failure to Pay his 2021 Tax Liability

84. GOLDSTEIN caused his 2021 Form 1040 to be filed with the IRS on or about
October 17, 2022.

85. Despite owing over $1,139,000 in tax for the 2021 tax year, GOLDSTEIN failed
to pay that tax liability on April 18, 2022, when the taxes were due, and failed to make any
estimated payments on that liability. Rather than make timely payment of his tax liability,
GOLDSTEIN spent over $800,000 on luxury items and other personal payments between April
and October 1, 2022. GOLDSTEIN ultimately paid his overdue taxes when he filed his overdue
2021 Form 1040 on or about October 17, 2022.

GOLDSTEIN’s False Statements to Mortgage Lenders

A. GOLDSTEIN’s Debts

86. In early 2021, GOLDSTEIN sought to move from his home in Chevy Chase,
Maryland, and purchase a $2.65 million home in Washington, D.C. GOLDSTEEN’s efforts to
obtain financing for the purchase of the new home were hampered, however, by his unpaid federal

tax liabilities of more than $1.3 million forthe 2016 and 2017 tax years, which led the IRS to place

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. Fens on his Chevy Chase residence. He also had unpaid state tax liabilities, which led the State of
Maryland to place liens on that residence. Although GOLDSTEIN had entered into a payment
agreement with the IRS in 2019 with respect to his 2016 and 2017 liabilities, those IRS liens
remained in place to protectthe IRS’s ability to collect. As noted above, in addition to his tax debts
for 2016 and 2017, by February 2021, GOLDSTEIN still owed over $500,000 in taxes for the
2019 tax year.

87. In addition to his substantial tax debt, GOLDSTEIN also owed, throughout all of
2021, over $9.89 million on Note-1, payable to California Businessman-1, and over $4.5 million
on Note-2, payable to California Businessman-3.

88. GOLDSTEIN had acknowledged his substantial debts to California Businessman-
1 and to California Businessman-3 in communications with them and their representatives, in 2021
payments on the debts, and in the debt instruments themselves. Moreover, GOLDSTEIN also
acknowledged the existence of those debts in a July 2019 email communication to the legal
representative of a woman who was threatening to sue GOLDSTEIN. In response to the legal
representative’s proposal that GOLDSTEIN pay a settlement to the woman to resolve her legal
claim, GOLDSTEIN countered by stating that suing him would be “totally and utterly pointless”
because he “owe[d] more than $16 million dollars privately” and also had “a massive tax lien.”

B. The First Savings Mortgage Corporation Loan Applications

89. In late February and early March 2021, GOLDSTEIN and his wife submitted two
joint applications to First Savings Mortgage Corporation (“FSM”), seeking to borrow funds to
purchase the Washington, D.C. home. The first application, signed and submitted by
GOLDSTEIN to FSM on or about February 24, 2021, sought $2,000,000 to-put.toward the

purchase of the new hdme. The second application, signed and submitted by GOLDSTEIN on or

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about March 1, 2021, sought $180,000 as a bridge loan, to cover certain costs in'connection with
the new home purchase.

90.  Bothapplicationsrequired GOLDSTEIN and his wife to provide detailed financial
information, including listingall outstanding debts. Both applicationsalso required GOLDSTEIN
and his wife to answer, “YES” or “NO,” to whether either was “delinquent or in default” on any
“federal debt.” Both applications required the applicants to represent that “[t]he information! have
provided is true, accurate, and complete as of the date of this application.” Both applications also
required the applicants to agree to and acknowledge that “[a]ny intentional or negligent
misrepresentation” of any information in the application may result in the imposition of “criminal
penalties” “including, but not limited to, fine or imprisonment or both under the provisions” of
federal law, including 18 U.S.C. §§ 1001 ef seq.

91. The application for the $2,000,000 loan contained a document entitled,
“MORTGAGE FRAUD IS INVESTIGATED BY THE FBI,” which explained, among other
things, that “[i]t is illegal to make any false statement regarding income assets, [or] debt. . .in a
loan and credit application for the purpose of influencing in any way the action of a financial
institution.” The document further advised that the “applicable Federal criminal statutes which
may be charged in connection with Mortgage Fraud include” 18 U.S.C. § 1014, which makes ita
crime to make a false statement on a loan application. GOLDSTEIN signed the mortgage fraud
warning on or about February 24, 2021.

92. Directly above GOLDSTEIN’s signature on both FSM applications was the
following language: “I/We fully understand that” it is a federal crime “punishable by fine or
imprisonment, or both, to knowingly make any false statements” on the applications “under the

provisions of Title 18, Wnited States Code.” '

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93.‘ Despite repeatedly affirming to FSM that he had disclosed all his liabilities and
debts, GOLDSTEIN falsely omitted more than $15,500,000 that he owed in personal debts and
federal taxes. On both applications, GOLDSTEIN falsely omitted his liabilities on Note-1 and
Note-2, on which he then owed more than $15,000,000 in total. On both applications,
GOLDSTEIN also falsely omitted his unpaid tax debt of over $512,000 for the 2019 tax year. In
addition, GOLDSTEIN falsely answered “No” in response to the question whether he was
_ delinquent on any federal debt.

94. In mid-March 2021, after learning of the tax liens, FSM informed GOLDSTEIN
that it would not lend to him.

C. Funds Borrowed from the Litigation Funder

95. To lift the tax liens on his Chevy Chase residence and to obtain financing for the
Washington, D.C., home purchase, GOLDSTEIN contacteda litigation funder (“the Funder”) that
had previously provided financing to G&R. Pursuant to a series of communications in mid-March
2021, GOLDSTEIN, acting through G&R, entered into two agreements with the Funder. Through
these agreements, GOLDSTEIN effectively borrowed $1,600,000 and an additional $4,000,000
from the Funder, allowing him to purchase the new home and to pay off the personal tax liabilities
that had resulted in the tax-liens. As part of his agreements with the Funder, which were signed by
GOLDSTEIN on or about March 29, 2021, and April 17, 2021, GOLDSTEIN caused G&R to
pledge certain receivables potentially due in specified court cases and other legal matters.
GOLDSTEIN also provided a personal guaranty to the Funder in connection with both
agreements, agreeing to be personally responsible if the security recited in the agreements did not
result in full repayment to:the Funder. One of the agreements further required that GOLDSTEIN,

as “the Guarantor,” would, upon “obtaining a mortgage loan on the” new Washington, D.C.,

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residence, “cause the proceeds of such mortgage loan to be applied to. the repayment of” the
Funder.

96.  Afterreceivingthe money from the Funder, GOLDSTEIN paid his outstanding tax
liabilities for the 2016 and 2017 tax years, thereby lifting the tax liens, and purchased the
Washington, D.C., home.

D. The NFM Loan Application

97, InoraboutJuly 2021, GOLDSTEIN and his wife submitted a joint application to
mortgage lender NFM Lending (“NFM”), seeking to borrow $1,987,500 to partially repay the
Funder. GOLDSTEIN caused that application to be submitted to NFM on or about July 11, 2021.

- 98. The NFM application, like the FSM applications, required GOLDSTEIN and his
wife to provide detailed financial information, including by listing “all liabilities.” The NFM
application also required GOLDSTEIN and his wife to answer, “YES” or “NO,” to whether “you
are currently delinquent or in default on a federal debt.” In addition, the NFM application required
GOLDSTEIN and his wife to answer, “YES” or “NO,” to whether either was “a co-signer or
guarantor on any debtor loan that is notdisclosed on this application.” GOLDSTEIN and his wife
both answered “NO” to each question. The NFM application required them to represent that “[fhe
information I have provided in this application is true, accurate, and complete as of the date I
signed this application.” Moreover, the application required GOLDSTEIN to “agree to” and
“acknowledge” that “[a]ny intentional or negligent misrepresentation of information may result m
the imposition of . . . criminal penalties on me including, but not limited to, fine or imprisonment
or both under the provisions of Federal law (18 U.S.C. §§ 1001 ef seq.).”

99, After NFM agreed to make the loan to GOLDSTEIN and his wife, a closing on the

Joan occurred on or about September 29, 2021. At the closing, which both GOLDSTEIN and his

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wife attended in Maryland, GOLDSTEIN signed the application that had been. previously
submitted to NFM, representing that “[t]he information I have provided in this application is true,
accurate, and complete as of the date I signed this application.” GOLDSTEIN also signed a
document at the closing entitled “UNDISCLOSED DEBT ACKNOWLEDGEMENT.” That
document stated that intentionally lying on a mortgage application constituted federal bank fraud
and mortgage fraud. The documentrequired GOLDSTEIN to list “[a]ll additional debt obligations
that are expected to exist at or around the time of this transaction closing[], not included in my
foan application.” In response to that requirement, GOLDSTEIN represented, by initialing and
dating the document, that there were “no exceptions”—that is, there were no undisclosed debt
obligations. Elsewhere on that document, GOLDSTEIN acknowledged and certified that he had
“no other debtobligations that are expected to exist at oraround the time of this transaction closing
beyond what] (we) provided on my (our) loan applicationand whatis provided on this document.”
Finally, GOLDSTEIN acknowledged and certified that he understood “that knowingly
withholding debt obligation information is mortgage fraud, which is punishable by incarceration
in federal prison.”

100. Despite repeatedly affirming to NFM that he had disclosed all his liabilities and
debts, GOLDSTEIN falsely omitted more than $15,445,000 that he owed in personal debts and
federal taxes, as well as his status as a guarantor on the Funder’s loans totaling $5,600,000. In
particular, GOLDSTEIN falsely omitted his liabilities on Note-1 and Note-2, on which he then
owed an aggregate of more than $14,500,000. GOLDSTEIN also falsely omitted on the
application his unpaid tax debt of over $945,000 for the 2020 tax year. Finally, GOLDSTEIN
omitted from the application his status as a personal guarantor on the two financing agreements

| if

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between G&R and the Funder, which were in the amounts of $1,600,000 and $4,000,000,
respectively.

Statutory Allegations

COUNT ONE
(Tax Evasion—2016 Tax Year)

The Grand Jury for the District of Maryland charges that:

1. Paragraphs | through 85 of this Indictment are incorporated here.

2. From in or about January 2016 through in or about March 2018, in the District of
Maryland and elsewhere, the defendant,

THOMAS C. GOLDSTEIN,

willfully attempted to evade and defeat the income tax due and owing by him to the United States
of America, for the calendar year 2016, by committing and causing to be committed the followmg
affirmative acts, among others:

(a) using funds and assets of G&R to pay personal gambling debts;

(b) providing false and incomplete information to the Accounting Firm;

(c) making false and misleading statements to an IRS Revenue Officer;

(d) using foreign individuals and foreign bank accounts to receive income;

(e) causing the preparation, signing, and filing with the IRS of a false and fraudulent

Form 1120S for G&R; and
(f) causing the preparation, signing, and filing with the IRS of a false and fraudulent

Form 1040 for himself and his wife.

26 U.S.C. § 7201
18 U.S.C. § 2

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i COUNT TWO i
(Fax Evasion—2017 Tax Year)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs 1 through 85 of this Indictment are incorporated here.
2. From in or about January 2017 through on orabout October 16,2018, in the District
of Maryland and elsewhere, the defendant,
THOMAS C. GOLDSTEIN,
willfully attempted to evade and defeat the income tax due and owing by him to the United States
of America, for the calendar year 2017, by committing and causing to be committed the following
affirmative acts, among others:
(a) using funds and assets of G&R to pay personal gambling debts;
(b) diverting G&R fees to his personal bank account and using those diverted fees to pay
personal gambling debts;
(c) directing gambling winnings to be sent to pay an unrelated gambling-related debt;
(d) causing false and incomplete information to be provided to the Accounting Firm;
(ec) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 11208 for G&R; and
(f) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 1040 for himself and his wife.

26 U.S.C. § 7201
18 U.S.C. §2

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COUNT THREE
(Tax Evasion—2018 Tax Year)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs 1 through 85 of this Indictment are incorporated here.

2. From in or about January 2018 through on orabout October 14, 2020, in the District

of Maryland and elsewhere, the defendant,

THOMAS C. GOLDSTEIN,

willfully attempted to evade and defeat the income tax due and owing by him to the United States

of America, for the calendar year 2018, by committing and causing to be committed the following

affirmative acts, among others:

(a) using funds and assets of G&R to pay personal gambling debts;

(b) using funds and assets of G&R to make personal payments, in the form of salaries
and health insurance premiums, to women with whom he was having or pursuing
intimate relations;

(c) diverting G&R fees to a third party to pay personal gambling debts;

(d) causing false and incomplete information to be provided to the Accounting Firm;

(e) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 11208 for G&R;

(f) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 1040 for himself and his wife; and

(g) making false statements to IRS representatives about the funds brought back from

Hong Kong.

26 U.S.C. § 7201
18 U.S.C. §2

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COUNT FOUR
(Tax Evasion—2021 Tax Year)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs 1 through 85 of this Indictment are incorporated here.
2. From in or aboutJanuary 2021 through on or about October 16, 2022, in the District
of Maryland and elsewhere, the defendant,
THOMAS C. GOLDSTEIN,
willfully attempted to evade and defeat the income tax due and owing by him to the United States
of America, for the calendar year 2021, by committing and causing to be committed the following
affirmative acts, among others:
(a) using funds and assets of G&R to be used to pay a personal gambling debt;
(b) diverting G&R fees to a third party to pay a personal gambling debt;
(cy causing false and incomplete information to be provided to the Accounting Firm;
(d) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 1120S for G&R; and
(e) causing the preparation, signing, and filing with the IRS of a false and fraudulent
Form 1040 for himself and his wife.

26 U.S.C. § 7201
18 U.S.C. § 2

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COUNTS FIVE THROUGH FOURTEEN
(Aiding and Assisting the Preparation of False and Fraudulent Tax Returns)

The Grand Jury for the District of Maryland further charges that: 1

I. Paragraphs 1 through 85 of this Indictment are incorporated here.

2. On or about the dates set forth below, in the District of Maryland and elsewhere,
the defendant,

THOMAS C. GOLDSTEIN,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation
under, and in connection with a matter arising under, the internal revenue laws, of returns, clams,
and other documents, that is, the IRS Forms 1040 and 1120S and attached schedules set forth

below, for the tax years set forth below, each of which returns, claims and other documents, as

GOLDSTEIN then and there knew, were false and fraudulent as to one or more material matters,

as set forth below:
FILING
TAXPAYER/ | TAX DATE
COUNT| RETURN | YEAR] (Approximate) FALSE ITEMS
a)Line 17: S Corp Income from
Schedule E of $1,331,962
b)Line 21: Other Income of
$13,703,706
GOLDSTEIN
5 Form 1040 2016 | 10/16/2017 c)Line 22: Total Income of
$15,408,857
d)Line 78: Amount Owed of
$1,690,527

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FILING
TAXPAYER/ | TAX DATE
COUNT | RETURN | YEAR| (Approximate) | . FALSE ITEMS
a)Line 19: Other Deductions of
Gar $4,637,374
6 Form 11208 | 2016 | 99/15/17
b)Line 20: Total Deductions of
$6,872,621
a)Line 17: S Corp Income from
Schedule E of $3,214,887
b)Line 21: Other Income of 30
GOLDSTEIN
7 Form 1040 2017 | 10/15/2018 c)Lime 22: Total Income of
$3,374,846
d)Line 78: Amount Owed of
$1,037,595
a) Line 1a: Gross Receipts and Sales of
$7,258,225
G&R b)Line 19: Other Deductions of
8 Form 11208 | 2017 | 09/15/2018 $1,491,487
c) Line 20: Total Deductions of
$3,948,019
a)Schedule 1, Line 17: S Corp Income
from Schedule E of $336,763
b)Schedule 1, Line 21: Other Income
9 GOLDSTEIN | 5913 | 10/15/2019 of $0
Form 1040

c)Line 6: Total Income of $527,879

d)Line 22: Amount Owed of $25,109

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COUNT

TAXPAYER/
RETURN

TAX
YEAR

FILING
DATE
(Approximate)

FALSE ITEMS

10

G&R
Form 11205

2018

04/15/2019

a)Line 1a: Gross Receipts and Sales of
$7,354,028

b)Line 8: Salaries and Wages of
$3,040,706

c)Lme 18: Employee Benefit
Programs of $90,643

d)Line 19: Other Deductions of
$3,231,942

e)Lime 20: Total Deductions of
$6,839,880

i1

GOLDSTEIN
Form 1040

2019

10/15/2020

a) Schedule 1, Line 5: S Corp Income
from Schedule E of $1,973,681

b) Schedule 1, Line 8: Other Income of
$12,400

c)Line 7a: Other Income from
Schedule 1 of $2,011,519

d)Line 23: Amount Owed of $681,515

12

G&R
Form 11208

2019

09/15/2020

a) Line 1a Gross Receipts and Sales of
$6,828,938

b)}Line 18 Employee Benefit Programs
of $126,662

c)Line 19 Other Deductions of
$928,755

d)Line 20: Total Deductions of
$4,845,868

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COUNT

TAXPAYER’ |.

RETURN

TAX
YEAR

FILING
DATE
(Approximate)

FALSE ITEMS

13

GOLDSTEIN
Form 1040

2020

10/15/2021

a) Answer “No” to question whether,
at any time during 2020,
GOLDSTEIN had received, sold,
sent, exchanged, or otherwise
acquired any financial interest in
any virtual currency

b)Schedule 1, Line 5: S Corp Income
from Schedule E of $2,818,297

c) Schedule 1, Line 8: Other Income of
$0

d)Line 9: Total Income of $2,976,261

14

GOLDSTEIN
Form 1040

2021

10/15/2022

a) Answer “No” to question whether,
at any time durme 2021,
GOLDSTEIN had received, sold,
sent, exchanged, or otherwise
disposed of any financial interest in
any virtual currency

b)Schedule 1, Lme 5: S Corp Income
from Schedule E of $3,517,776

c) Schedule 1, Line 8b: Gambling
Income of $0

d)Line 9: Total Income of $3,675,863

e) Line 37: Amount Owed of
$1,139,488

26 U.S.C. § 7206(2)
18 U.S.C. §2

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COUNTS FIFTEEN THROUGH NINETEEN
(Willful Failure to Pay Taxes)

The Grand Jury for the District of Maryland further charges that: '

1. Paragraphs 1 through 85 of this Indictment are incorporated here.

2. In the tax years set forth below, in the District of Maryland and elsewhere, the
defendant,

THOMAS C. GOLDSTEIN,

received taxable income of at least the amounts set forth below, on which taxable income there
was owing to the United States of America an income tax of at least the amounts set forth below,
which required GOLDSTEIN to pay, on or before the payment due dates set forth below, that
income tax to the Internal Revenue Service. Well-knowing the foregoing, on or about the tax

payment due dates set forth below, GOLDSTEIN did willfully fail to pay the income tax due, as

follows:

TAX TAXABLE INCOME APPROXIMATE PAYMENT
COUNT! YEAR | (Reported on Tax Return) TAX DUE DUE DATE
15 2016 $4,350,019 $1,690,527 04/18/2017

16 2017 $2,707,866 $1,037,595 04/17/2018

17 2019 $2,004,734 $512,522 07/15/2020

18 20206 $2,941,485 $947,137 05/17/2021

19 2021 $3,675,863 $1,139,488 04/18/2022

26 U.S.C. § 7203
18 U.S.C. § 2

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COUNT TWENTY
(False Statement on Loan Application—First Savings Mortgage Application #1)

The Grand Jury for the District of Maryland further charges that: '

1. Paragraphs | through 100 of this Indictment are incorporated here. ‘

2. On or about February 24, 2021, in the District of Maryland and elsewhere, the
defendant,

THOMAS C. GOLDSTEIN,

did knowingly make false statements and reports for the purpose of influencing in any way the
action of First Savings Mortgage Corporation, a mortgage lending business as defined in 18 U.S.C.
§ 20, in connection with an application, advance, discount, purchase, purchase agreement,
repurchase agreement, commitment, and loan, in that, in connection with a loan application
seeking $2,000,000, GOLDSTEIN (i) represented that the information he provided in the
application was “true, accurate, and complete as of the date of this application,” when, in truth and
fact, GOLDSTEIN knew that the application had omitted liabilities totaling over $15,000,000,
based on the amounts owed under Note-1 and Note-2, and omitted over $512,000 GOLDSTEIN
then owed to the IRS forthe 2019 tax year; and (2) answered “No” in response to the question
whether GOLDSTEIN was “currently delinquent or in default on a federal debt,” when, in truth
and fact, GOLDSTEIN knew that he had an unpaid tax liability of over $512,000 for the 2019 tax
year.

18 U.S.C. § 1014
18 U.S.C. §2

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COUNT TWENTY-ONE
(False Statement on Loan Application—First Savings Mortgage Application #2)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 100 of this Indictment are incorporated here.

2. On or about March 1, 2021, in the District of Maryland and elsewhere, the
defendant,

THOMAS C. GOLDSTEIN,

did knowingly make false statements and reports for the purpose of influencing in any way the
action of First Savings Mortgage Corporation, a mortgage lending business as defined in 18 U.S.C.
§ 20, in connection with an application, advance, discount, purchase, purchase agreement,
repurchase agreement, commitment, and loan, in that, in connection with a loan application
seeking $180,000, GOLDSTEIN (1) represented that the information he provided in the
application was “true, accurate, and complete as of the date of this application,” when, in truth and
fact, GOLDSTEIN knew that the application had omitted liabilities totaling over $15,000,000,
based on the amounts owed under Note-1 and Note-2, and omitted over $512,000 GOLDSTEIN
then owed to the IRS for the 2019 tax year; and (2) answered “No” in response to the question
whether GOLDSTEIN was “currently delinquent or in default on a federal debt,” when, in truth
and fact, GOLDSTEIN knew that he had an unpaid tax liability of over $512,000 for the 2019 tax
year.

18 U.S.C. § 1014
18 U.S.C. § 2

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COUNT TWENTY-TWO
(False Statement on Loan Application—NFM Lending)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 1 through 100 of this Indictment are incorporated here.

2. On or about September 29, 2021, in the District of Maryland and elsewhere, the
defendant,

THOMAS C. GOLDSTEIN,

did knowingly make false statements and reports for the purpose of influencing in any way the
action of NFM Lending, a mortgage lending business as defined in 18 U.S.C. § 20, in connection
with an application, advance, discount, purchase, purchase agreement, repurchase agreement,
commitment, and loan, in that, in connection with a loan application seeking $180,000,
GOLDSTEIN (1) represented that the information he provided in the application was “true,
accurate, and complete as of the date of this application,” when, in truth and fact, GOLDSTEIN
knew that the application had omitted liabilities totaling over $14,500,000, based on the amounts
owed under Note-1 and Note-1, and omitted over $945,000 GOLDSTEIN then owed to the IRS
for the 2020 tax year; (2) answered “No” in response to the question whether GOLDSTEIN was
“currently delinquent or in default on a federal debt,” when, in truth and fact, GOLDSTEIN knew
that he had an unpaid tax liability of over $945,000 for the 2020 tax year; and (3) answered “No”
in response to the question whether GOLDSTEIN was “a co-signer or guarantor on any debt or
loan that is not disclosed in this application,” when, in truth and fact, GOLDSTEIN knew that he
was a guarantor on the two financing agreements between G&R and the Funder, which were in
the amounts of $1,600,000 and $4,000,000, respectively.

18 U.S.C. § 1014
18 U.S.C. §2

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FORFEITURE ALLEGATION .

The Grand Jury for the District of Maryland further finds that:

1 1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 982(a)@)
and 21 U.S.C. § 853(p) in the event of the defendant’s convictionunder any of the offenses alleged
in Counts Twenty through Twenty-Two of this Indictment.

Bank Fraud Forfeiture

2. Upon conviction of the offenses alleged in Counts Twenty through Twenty-Two of
this Indictment, the defendant,
THOMAS C. GOLDSTEIN,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2) any property, real or personal,
which constitutes or is derived from proceeds traceable to the offenses.

Substitute Assets

3. If, as a result of any act or omission of any defendant, any of the property described

above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be subdivided
without difficulty,

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the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall

be entitled to forfeiture of substitute property up to the value of the forfeitable property described

above.

18 U.S.C. § 982(a)(2)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)
Erek L. Barron
United States Attorney
A TRUE BILL:

Date: Yi of, QOZS

Forepeérson
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